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                            UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY

           CHAMBERS OF                                                   MARTIN LUTHER KING
         ESTHER SALAS                                                       COURTHOUSE
   UNITED STATES DISTRICT JUDGE                                             50 WALNUT ST.
                                                                              ROOM 2037
                                                                          NEWARK, NJ 07101
                                                                              973-297-4887
                                         October 11, 2019


                                        LETTER ORDER

       Re:      Castaldo v. State of New Jersey, et al.
                Civil Action No. 18-14249 (ES) (JAD)

Dear parties:

        Mr. Frank Castaldo (or “Plaintiff”) commenced this action on September 24, 2018, filing
a complaint in which he purported to represent both himself and “approximately forty Organic
Pagans in the New Jersey prison system and six Organic Pagans outside of prison.” (D.E. No. 1,
Compl. ¶ 1). As Mr. Castaldo was proceeding pro se, and therefore could not represent a putative
class, Lewis v. City of Trenton Police Dep’t, 175 F. App’x 552, 554 (3d Cir. 2006) (“Lewis, who
is proceeding pro se, may not represent a putative class of prisoners.”), the Court finds that he was
the only plaintiff in the case at the time. On July 9, 2019, Plaintiff filed a motion for leave to
amend his pleading, in which he sought, among other things, to add several other named plaintiffs.
(D.E. No. 20-2). That application remains pending and Mr. Castaldo thus remains the sole plaintiff
in this matter. On September 3, 2019, William Duncan, one of the proposed additional plaintiffs,
filed an application for injunctive relief. (D.E. No. 24). That application also remains pending.

        On September 27, 2019, Mr. Castaldo filed a motion seeking to withdraw his claims in this
case. (D.E. No. 26). Mr. Castaldo represented that he sought to do so because he feared reprisals
from prison officials. (D.E. No. 26, Dec. in Support ¶¶ 1–2). Mr. Castaldo asked that the Court
“allow the case to proceed with the other named plaintiffs.” (D.E. No. 26, Motion to Withdraw at
1). Kevin Planker, whom Mr. Castaldo sought to add as a named plaintiff in the aforementioned
motion to amend, has offered to “take over as the lead plaintiff if the [C]ourt permits Castaldo to
withdraw from the case.” (D.E. No. 26, Planker Decl. ¶ 3). The Court reiterates, however, that
there is no putative class and, at this juncture, there is only one named plaintiff: Frank Castaldo.

        If Mr. Castaldo wishes to withdraw his claims, Federal Rule of Civil Procedure 41(a)(1)(i)
affords him the right to do so. That Rule provides, in pertinent part, that “the plaintiff may dismiss
an action without a court order by filing . . . a notice of dismissal before the opposing party serves
either an answer or a motion for summary judgment.” Fed. R. Civ. P. 41(a)(1)(i). In this case, no
defendants have answered or filed motions for summary judgment, and Plaintiff may, therefore,
voluntarily dismiss his claims under Rule 41(a)(1)(i). The Court will deem his “Notice of Motion
to Withdraw” as a notice of voluntary dismissal under that Rule. Pursuant to Rule 41(a)(2), that
dismissal will be without prejudice to Plaintiff’s right to re-file his claims, if appropriate, at a
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later date. Moreover, as the other individuals who sought to join in Mr. Castaldo’s proposed
amended complaint are not parties to this matter, the dismissal will be without prejudice to their
respective rights to file actions on their own behalf. The Clerk of the Court shall close this case,
and both Mr. Castaldo’s motion to amend and Mr. Duncan’s application for a preliminary
injunction (D.E. Nos. 20 & 24) will be denied, without prejudice, as moot.


       SO ORDERED.


                                              s/Esther Salas
                                              Esther Salas, U.S.D.J.




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